UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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KIMBERLY GODOY,

                  Plaintiff,
                                                                            2:16-cv-05502 (DRH) (SIL)
         v.

BMW OF NORTH AMERICA, LLC;                                                  NOTICE OF MOTION
BMW MANUFACTURING CO., LLC;                                                 TO DISMISS PURSUANT
ZF TRW AUTOMOTIVE HOLDINGS CORP.;                                           TO RULE 12(b)(2)
AUTOLIV, INC. and AUTOLIV ASP, INC.
           Defendants.
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          PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law in

 Support of Defendants Autoliv, Inc. and Autoliv ASP, Inc.’s (the “Autoliv Defendants”) Motion

 to Dismiss Plaintiff’s Amended Complaint under Rule 12(b)(2), dated November 8, 2017,

 counsel for the Autoliv Defendants will move this Court, on a date and time to be set by the

 Court, before the Honorable Judge Denis R. Hurley, United States District Judge, at the

 United States Courthouse, Eastern District of New York, 100 Federal Plaza, Central Islip,

 New York 11722, for an Order dismissing Plaintiff’s Amended Complaint as against the

 Autoliv Defendants pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure.

          PLEASE TAKE FURTHER NOTICE that, pursuant to Judge Hurley’s October 13,

 2017 briefing schedule Order, requiring Plaintiff “to serve, but not file opposing papers on or

 before December 5, 2017, and Defendants to serve reply papers, if any, and file all papers

 with the Court, including a copy for Chambers on or before December 19, 2017.”


Dated: New York, New York
       November 8, 2017
                        Peter J. Fazio /s/
                       Peter J. Fazio (PJF 1211)
                       Walsy K. Saez Aguirre (WS0759)
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                       FEINSTEIN & DEUTSCH, LLP
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